Case 2:23-cv-11634-NGE-APP ECF No. 33, PageID.420 Filed 10/28/24 Page 1 of 5




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

JULIA ZIMMERMAN,

       Plaintiff,                                            Case No: 23-cv-11634
                                                             Hon. Nancy G. Edmunds
vs.                                                          Mag. Judge Anthony P. Patti

ELIZABETH A. PENSLER, D.O., PLLC d/b/a
“PENSLER               VEIN     AND          VASCULAR
SURGICAL INSTITUTE” and “ELIZABETH
FACE + BODY MED SPA”, a Michigan
Professional          Limited   Liability        Company,
ELIZABETH A. PENSLER, D.O., an Individual,
ELIZABETH MED SPA, PLLC, A Michigan
Professional Limited Liability Company, DEREK L.
HILL,          D.O.,       PLLC      d/b/a           “HILL
ORTHOPEDICS”, a Domestic Professional
Limited Liability Company, DEREK L. HILL,
D.O., an Individual, Jointly and severally in their individual
and official capacities,

      Defendants.
DEBORAH GORDON LAW                                 THE HEALTH LAW PARTNERS,
Deborah L. Gordon (P27058)                         P.C.
Elizabeth Marzotto Taylor (P82061)                 Clinton Mikel (P73496)
Sarah Gordon Thomas (P83935)                       Attorneys for the Defendants
Attorneys for Plaintiff                            32000 Northwestern Highway, Suite 240
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Case 2:23-cv-11634-NGE-APP ECF No. 33, PageID.421 Filed 10/28/24 Page 2 of 5




                     PLAINTIFF’S INITIAL WITNESS LIST
       Plaintiff Julia Zimmerman, by and through her attorneys, Deborah Gordon Law,

submit the following Initial Fact Witness List.

                            RESERVATION OF RIGHTS

       Plaintiff expressly reserves the right to supplement her Initial Fact Witness List

up to and including the date the Joint Final Pretrial Order is filed. As discovery remains

outstanding, Plaintiff may not presently be able to fully identify all of the witnesses she

anticipates calling to testify at the time of trial. Plaintiff accordingly reserves the right

to supplement this List to name any witnesses about whose knowledge or potential

testimony she may become aware of during the discovery period of this action, and to

rely in these proceedings on the testimony of any such witnesses.

                              INITIAL WITNESS LIST
1.     Plaintiff Julia Zimmerman

2.     Defendant Elizabeth Pensler, D.O.

3.     Defendant Derek Hill, D.O.

4.     Daryl Belding

5.     Celina McKay

6.     Amy Mesky

7.     McKenna Broadus

8.     Lindsay Marquadt

9.     Monica Morales
Case 2:23-cv-11634-NGE-APP ECF No. 33, PageID.422 Filed 10/28/24 Page 3 of 5




10.   Dan Gilbert

11.   Keely Berry

12.   Jenn Robertson

13.   Pavlina Goodman

14.   Kara Visnaw

15.   Kristina Franks

16.   Alejandra Caza

17.   Kristina Jarret

18.   Gabrielle Maciag

19.   Madisen Carrier

20.   Jennifer Diaz

21.   Simrath Davidson

22.   Rachel Pantalena

23.   Sandy Jones

24.   Jamie Peysakhov

25.   All record keepers for Elizabeth A. Pensler, D.O., PLLC; Pensler Vein and

      Vascular Surgical Institute; Elizabeth Face + Body Med Spa; Elizabeth Med Spa,

      PLLC; Derek L. Hill, D.O., PLLC; Hill Orthopedics and any related entities.

26.   Any and all witnesses identified by Defendants in their current or amended

      witness lists.
Case 2:23-cv-11634-NGE-APP ECF No. 33, PageID.423 Filed 10/28/24 Page 4 of 5




27.   All persons referred to in any Complaint, Answer, or other pleading filed in this

      lawsuit but not specifically named.

28.   All current and former employees of Elizabeth A. Pensler, D.O., PLLC; Pensler

      Vein and Vascular Surgical Institute; Elizabeth Face + Body Med Spa; Elizabeth

      Med Spa, PLLC; Derek L. Hill, D.O., PLLC; Hill Orthopedics or any related

      entities.

29.   All persons or entities referred to in depositions, interrogatories, answers to

      interrogatories, responses to requests for documents or responses to third-party

      subpoenas.

30.   Any and all necessary rebuttal lay and expert witnesses, including without

      limitation any expert witness identified by any party.

31.   Any and all witnesses necessary to lay the foundation for the admission of

      evidence.

32.   Plaintiff reserves the right to add any additional expert witnesses that may

      become necessary or lay witnesses as they become known through the course of

      additional discovery.

Dated: October 28, 2024                 Respectfully submitted,
                                        DEBORAH GORDON LAW
                                        /s/ Elizabeth Marzotto Taylor
                                        Elizabeth Marzotto Taylor (P82061)
                                        Attorneys for Plaintiff
                                        33 Bloomfield Hills Parkway, Suite 220
                                        Bloomfield Hills, Michigan 48304
                                        (248) 258-2500
                                        emarzottotaylor@deborahgordonlaw.com
Case 2:23-cv-11634-NGE-APP ECF No. 33, PageID.424 Filed 10/28/24 Page 5 of 5




                         CERTIFICATE OF SERVICE
       I hereby certify that on October 28 2024, I electronically filed the foregoing
document with the Clerk of the Court using the ECF system which will send
notification of such filing to all parties of record.
                               /s/ Teresa D’ Costa
                                  Teresa D’ Costa
